         Case 1:23-cv-10134-DJC Document 13 Filed 01/31/23 Page 1 of 20




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



AARON GREENSPAN,

        Plaintiff,

   v.
                                                           Case No.: 1:23-cv-10134-DJC
DIEGO MASMARQUES, JR. a/k/a DIEGO
MAS HOWARD a/k/a RICKY MAS MARQUES
a/k/a JACK JONES, SERGEI IGOREVICH
KUDRIAVTSEV, and MEDIOLEX, LTD.,

        Defendants.



                      DECLARATION OF ALTERNATIVE SERVICE


I, Aaron Greenspan, declare as follows:

        1.      On January 20, 2023, Judge Denise J. Casper granted my motion for alternative

service on Sergei Igorevich Kudriavtsev and Mediolex Ltd., authorizing service via e-mail to

editor.complaintsboard@gmail.com and legal@complaintsboard.com, as well as via First Class

Mail to Sergei Igorevich Kudriavtsev, Kaivas iela 50 k-5, Unit 108, Riga, LV-1021, Latvia and

Mediolex Ltd., Šmerļa iela 3-216a, Riga, LV-1006, Latvia.

        2.      I believe Sergei Igorevich Kudriavtsev’s personal e-mail address to be

ivestules@gmail.com.

        3.      As Exhibit A, I have attached a true and correct copy of an e-mail message I sent

on January 20, 2023 to editor.complaintsboard@gmail.com, CCed to

editor@complaintsboard.com, containing copies of the summons and complaint in this action

(with exhibits) in Adobe Acrobat PDF format, as well as related court filings.


                                                 1
            Case 1:23-cv-10134-DJC Document 13 Filed 01/31/23 Page 2 of 20




           4.   As Exhibit B, I have attached a true and correct copy of an e-mail message I sent

on January 20, 2023 to legal@complaintsboard.com containing copies of the summons and

complaint in this action (with exhibits) in Adobe Acrobat PDF format, as well as related court

filings.

           5.   As Exhibit C, I have attached a true and correct copy of an e-mail message I sent

on January 20, 2023 to ivestules@gmail.com containing copies of the summons and complaint in

this action (with exhibits) in Adobe Acrobat PDF format, as well as related court filings.

           6.   As Exhibit D, I have attached SMTP server logs confirming that all of the

aforementioned e-mail messages were received.

           7.   As Exhibit E, I have attached a true and correct copy of the shipping labels

generated by Stamps.com software to send International First Class Mail to Latvia via

GlobalPost at the following addresses:

           a)   Sergei Igorevich Kudriavtsev, Kaivas iela 50 k-5, Unit 108, Riga, LV-1021,

                Latvia;

           b)   Mediolex Ltd., Šmerļa iela 3-216a, Riga, LV-1006, Latvia.

           8.   It is my understanding that Stamps.com routes International First Class Mail

packages to a GlobalPost United States distribution center (initially via Priority Mail), which

then prints and affixes the appropriate United States Postal Service International First Class Mail

forms for each package so that it can be shipped abroad.

           9.   On January 20, 2023 I deposited two packages ultimately destined for the above

mailing addresses in Latvia in the mail at a United States Post Office in San Francisco, each

package containing the summons and complaint in this action as well as related court filings.




                                                 2
         Case 1:23-cv-10134-DJC Document 13 Filed 01/31/23 Page 3 of 20




       10.     As Exhibit F, I have attached a true and correct copy of the GlobalPost package

tracking page for each package as of today.

       11.     Pursuant to the process set out in my motion, ECF No. 6, and approved by the

Court’s Order, ECF No. 11, service was complete on Sergei Igorevich Kudriavtsev and Mediolex

Ltd. as of January 20, 2023.

       I declare under penalty of perjury under the laws of the United States that the above

statements are true and correct and that this declaration was executed on January 31, 2023 in San

Francisco, California.



Dated: January 31, 2023




                                     Aaron Greenspan




                                                3
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                               EXHIBIT A
 Alternative Service E-Mail Message To editor.complaintsboard@gmail.com
                 Case 1:23-cv-10134-DJC Document 13 Filed 01/31/23 Page 5 of 20


  From:    Aaron Greenspan aaron.greenspan@PLAINSITE.ORG
Subject:   Massachusetts District Court Case No. 1:23-cv-10134-DJC: Service of Lawsuit Documents
   Date:   January 20, 2023 at 2:53 PM
     To:   editor.complaintsboard@gmail.com
    Cc:    CB Editor editor@complaintsboard.com

       To Whom It May Concern:

       You are being sued and Judge Denise J. Casper has granted my request to serve you via this e-mail message. Please see the
       attached summons, complaint, and associated documents.

       Aaron

       PlainSite | https://www.plainsite.org




            1.pdf      1-1.pdf       1-2.pdf     1-3.pdf     1-4.pdf      1-5.pdf      1-6.pdf      1-7.pdf     1-8.pdf




           1-9.pdf      2.pdf          3.pdf      4.pdf        5.pdf       6.pdf       6-1.pdf     6-2.pdf      9-mediolex.pdf
Case 1:23-cv-10134-DJC Document 13 Filed 01/31/23 Page 6 of 20




                              EXHIBIT B
   Alternative Service E-Mail Message To legal@complaintsboard.com
                 Case 1:23-cv-10134-DJC Document 13 Filed 01/31/23 Page 7 of 20


  From:    Aaron Greenspan aaron.greenspan@PLAINSITE.ORG
Subject:   Massachusetts District Court Case No. 1:23-cv-10134-DJC: Service of Lawsuit Documents
   Date:   January 20, 2023 at 2:55 PM
     To:   legal@complaintsboard.com

       To Whom It May Concern:

       You are being sued and Judge Denise J. Casper has granted my request to serve you via this e-mail message. Please see the
       attached summons, complaint, and associated documents.

       Aaron

       PlainSite | https://www.plainsite.org




            1.pdf      1-1.pdf       1-2.pdf     1-3.pdf     1-4.pdf      1-5.pdf      1-6.pdf      1-7.pdf     1-8.pdf




           1-9.pdf      2.pdf          3.pdf      4.pdf        5.pdf       6.pdf       6-1.pdf     6-2.pdf      9-mediolex.pdf




                 9-
           kudriavtsev.pdf
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                             EXHIBIT C
      Alternative Service E-Mail Message To ivestules@gmail.com
                 Case 1:23-cv-10134-DJC Document 13 Filed 01/31/23 Page 9 of 20


  From:    Aaron Greenspan aaron.greenspan@PLAINSITE.ORG
Subject:   Massachusetts District Court Case No. 1:23-cv-10134-DJC: Service of Lawsuit Documents
   Date:   January 20, 2023 at 2:56 PM
     To:   Sergei Kudriavtsev ivestules@gmail.com

       To Whom It May Concern:

       You are being sued and Judge Denise J. Casper has granted my request to serve you via this e-mail message. Please see the
       attached summons, complaint, and associated documents.

       Aaron

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            1.pdf      1-1.pdf       1-2.pdf     1-3.pdf     1-4.pdf      1-5.pdf      1-6.pdf      1-7.pdf     1-8.pdf




           1-9.pdf      2.pdf          3.pdf      4.pdf        5.pdf       6.pdf       6-1.pdf     6-2.pdf      9-mediolex.pdf




                 9-
           kudriavtsev.pdf
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                              EXHIBIT D
             Alternative Service E-Mail SMTP Server Logs
      Case 1:23-cv-10134-DJC Document 13 Filed 01/31/23 Page 11 of 20



Jan 20 17:51:02 kermit sendmail[22456]: 30KMomQ5022407:
to=<editor@complaintsboard.com>,
ctladdr=<aaron.greenspan@plainsite.org> (1072/1035), delay=00:00:13,
xdelay=00:00:08, mailer=esmtp, pri=33646716, relay=mx.yandex.net.
[77.88.21.249], dsn=2.0.0, stat=Sent (Ok: queued on myt6-
ec0b40e61368.qloud-c.yandex.net 1674255214-Qrwhv0HYRW21-uSB7YmJx)

Jan 20 17:51:15 kermit sendmail[22456]: 30KMomQ5022407:
to=<editor.complaintsboard@gmail.com>,
ctladdr=<aaron.greenspan@plainsite.org> (1072/1035), delay=00:00:26,
xdelay=00:00:13, mailer=esmtp, pri=33646716, relay=gmail-smtp-
in.l.google.com. [173.194.79.26], dsn=2.0.0, stat=Sent (OK 1674255227
wy7-20020a170906fe0700b0084ccee74c20si16992174ejb.497 - gsmtp)

Jan 20 17:53:18 kermit sendmail[23323]: 30KMr4w8023296:
to=<legal@complaintsboard.com>,
ctladdr=<aaron.greenspan@plainsite.org> (1072/1035), delay=00:00:12,
xdelay=00:00:07, mailer=esmtp, pri=33749944, relay=mx.yandex.net.
[77.88.21.249], dsn=2.0.0, stat=Sent (Ok: queued on iva8-
71d975df797d.qloud-c.yandex.net 1674255350-htwYZQHYhCg1-ICc4ExYy)

Jan 20 17:54:21 kermit sendmail[23655]: 30KMr4w9023296:
to=<ivestules@gmail.com>, ctladdr=<aaron.greenspan@plainsite.org>
(1072/1035), delay=00:00:15, xdelay=00:00:12, mailer=esmtp,
pri=33750352, relay=gmail-smtp-in.l.google.com. [173.194.79.26],
dsn=2.0.0, stat=Sent (OK 1674255413 go34-
20020a1709070da200b00871969cddafsi16810582ejc.530 - gsmtp)
Case 1:23-cv-10134-DJC Document 13 Filed 01/31/23 Page 12 of 20




                              EXHIBIT E
       Alternative Service Stamps.com GlobalPost Shipping Labels
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                              EXHIBIT F
         Alternative Service GlobalPost Package Tracking Pages
1/31/23, 9:39 AM       Case 1:23-cv-10134-DJC Document    13 - GlobalPost
                                                  Track-Detail  Filed 01/31/23
                                                                          International Page 15 of 20

    UM740881316US                                                                                       Track
                                           (https://www.goglobalpost.com/)
                                                                                                           a

                               Tracking Details

                          Shipment Processed At Carrier Facility
                                                                 BELL, CA, 90201
                                                            Jan 24, 2023 - 5:56 pm




                   To:                                                     From:
                   Riga, Riga, LV-1006                                     SAN FRANCISCO, CA, 94107




                                   Shipment Processed At Carrier Facility
                                   BELL, CA, 90201
                                   Jan 24, 2023 - 5:56 pm, US


                                   Shipment Arrived At Carrier Facility
                                   CITY OF INDUSTRY, CA, 91716
                                   Jan 23, 2023 - 10:57 am, US


                                   Shipment Departed Carrier Facility
                                   CITY OF INDUSTRY, CA, 91716
                                   Jan 22, 2023 - 6:10 am, US


                                   Shipment Arrived At Carrier Facility
                                   CITY OF INDUSTRY, CA, 91715


https://www.goglobalpost.com/track-detail/?t=UM740881316US&ref=landing                                          1/3
1/31/23, 9:39 AM       Case 1:23-cv-10134-DJC Document    13 - GlobalPost
                                                  Track-Detail  Filed 01/31/23
                                                                          International Page 16 of 20
                                   Jan 22, 2023 - 12:44 am, US
                                        (https://www.goglobalpost.com/)
                                                                                                        a
                                   Departed USPS Regional Destination Facility
                                   CITY OF INDUSTRY CA DISTRIBUTION CENTER
                                   Jan 22, 2023 - 12:44 am


                                   Shipment Arrived At Carrier Facility
                                   CITY OF INDUSTRY, CA, 91715
                                   Jan 21, 2023 - 5:23 pm, US


                                   Arrived at USPS Regional Facility
                                   CITY OF INDUSTRY CA DISTRIBUTION CENTER
                                   Jan 21, 2023 - 5:23 pm


                                   ARRIVED AT USPS REGIONAL FACILITY
                                   CITY OF INDUSTRY CA DISTRIBU, 91715
                                   Jan 21, 2023 - 5:23 pm, US


                                   Shipment Departed Carrier Facility
                                   SACRAMENTO, CA, 95837
                                   Jan 21, 2023 - 7:49 am, US


                                   Shipment Arrived At Carrier Facility
                                   Sacramento, California, 95837
                                   Jan 21, 2023 - 7:36 am, US


                                   ARRIVED AT USPS REGIONAL FACILITY
                                   SACRAMENTO, CA, 95837
                                   Jan 21, 2023 - 7:36 am, US


                                   Shipment Departed Carrier Facility
                                   SAN FRANCISCO CA DISTRIBUTIO, 94188
                                   Jan 21, 2023 - 4:47 am, US


                                   Arrived at USPS Regional Origin Facility

https://www.goglobalpost.com/track-detail/?t=UM740881316US&ref=landing                                      2/3
1/31/23, 9:39 AM       Case 1:23-cv-10134-DJC Document    13 - GlobalPost
                                                  Track-Detail  Filed 01/31/23
                                                                          International Page 17 of 20
                                   SAN FRANCISCO CA DISTRIBUTION CENTER
                                        (https://www.goglobalpost.com/)
                                   Jan 20, 2023 - 8:25 pm                                                                    a
                                   Shipment Arrived At Carrier Facility
                                   SAN FRANCISCO, CA, 94188
                                   Jan 20, 2023 - 7:25 pm, US


                                   Shipment Arrived At Carrier Facility
                                   SAN FRANCISCO, CA, 94107
                                   Jan 20, 2023 - 7:10 pm, US


                                   Shipping Label Created, USPS Awaiting Item
                                   SAN FRANCISCO, CA, 94107
                                   Jan 20, 2023 - 6:19 pm




                                Track a Package (/track)                 GlobalPost Warehouse (/warehouse/)

            Customer Support (https://goglobalpost.custhelp.com/app/ask)                       Company Info (/about-us-2)

            Privacy Policy (https://www.stamps.com/privacy-policy/)                     Terms and Conditions (/conditions)

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                                                                     information)




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1/31/23, 9:40 AM       Case 1:23-cv-10134-DJC Document    13 - GlobalPost
                                                  Track-Detail  Filed 01/31/23
                                                                          International Page 18 of 20

    UM740881293US                                                                                       Track
                                           (https://www.goglobalpost.com/)
                                                                                                           a

                               Tracking Details

                          Shipment Processed At Carrier Facility
                                                                 BELL, CA, 90201
                                                            Jan 24, 2023 - 6:33 pm




                   To:                                                     From:
                   Riga, Riga, LV-1021                                     SAN FRANCISCO, CA, 94107




                                   Shipment Processed At Carrier Facility
                                   BELL, CA, 90201
                                   Jan 24, 2023 - 6:33 pm, US


                                   Shipment Arrived At Carrier Facility
                                   CITY OF INDUSTRY, CA, 91716
                                   Jan 23, 2023 - 10:57 am, US


                                   Shipment Departed Carrier Facility
                                   CITY OF INDUSTRY, CA, 91716
                                   Jan 22, 2023 - 6:10 am, US


                                   Shipment Arrived At Carrier Facility
                                   CITY OF INDUSTRY, CA, 91715


https://www.goglobalpost.com/track-detail/?t=UM740881293US&ref=landing                                          1/3
1/31/23, 9:40 AM       Case 1:23-cv-10134-DJC Document    13 - GlobalPost
                                                  Track-Detail  Filed 01/31/23
                                                                          International Page 19 of 20
                                   Jan 22, 2023 - 12:43 am, US
                                        (https://www.goglobalpost.com/)
                                                                                                        a
                                   Departed USPS Regional Destination Facility
                                   CITY OF INDUSTRY CA DISTRIBUTION CENTER
                                   Jan 22, 2023 - 12:43 am


                                   Shipment Arrived At Carrier Facility
                                   CITY OF INDUSTRY, CA, 91715
                                   Jan 21, 2023 - 5:23 pm, US


                                   Arrived at USPS Regional Facility
                                   CITY OF INDUSTRY CA DISTRIBUTION CENTER
                                   Jan 21, 2023 - 5:23 pm


                                   ARRIVED AT USPS REGIONAL FACILITY
                                   CITY OF INDUSTRY CA DISTRIBU, 91715
                                   Jan 21, 2023 - 5:23 pm, US


                                   Shipment Departed Carrier Facility
                                   Sacramento, California, 95837
                                   Jan 21, 2023 - 7:49 am, US


                                   Shipment Arrived At Carrier Facility
                                   Sacramento, California, 95837
                                   Jan 21, 2023 - 7:36 am, US


                                   ARRIVED AT USPS REGIONAL FACILITY
                                   SACRAMENTO, CA, 95837
                                   Jan 21, 2023 - 7:36 am, US


                                   Shipment Departed Carrier Facility
                                   SAN FRANCISCO, CA, 94188
                                   Jan 21, 2023 - 4:47 am, US


                                   Arrived at USPS Regional Origin Facility

https://www.goglobalpost.com/track-detail/?t=UM740881293US&ref=landing                                      2/3
1/31/23, 9:40 AM       Case 1:23-cv-10134-DJC Document    13 - GlobalPost
                                                  Track-Detail  Filed 01/31/23
                                                                          International Page 20 of 20
                                   SAN FRANCISCO CA DISTRIBUTION CENTER
                                        (https://www.goglobalpost.com/)
                                   Jan 20, 2023 - 8:25 pm                                                                    a
                                   Shipment Arrived At Carrier Facility
                                   SAN FRANCISCO, CA, 94188
                                   Jan 20, 2023 - 7:25 pm, US


                                   Shipment Arrived At Carrier Facility
                                   SAN FRANCISCO, CA, 94107
                                   Jan 20, 2023 - 7:10 pm, US


                                   Shipping Label Created
                                   SAN FRANCISCO, CA, 94107
                                   Jan 20, 2023 - 6:16 pm, US




                                Track a Package (/track)                 GlobalPost Warehouse (/warehouse/)

            Customer Support (https://goglobalpost.custhelp.com/app/ask)                       Company Info (/about-us-2)

            Privacy Policy (https://www.stamps.com/privacy-policy/)                     Terms and Conditions (/conditions)

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                                                                     information)




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